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                                          Nos. 24-6256 & 24-6274

                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT

                                             EPIC GAMES, INC.,
                                             Plaintiff-Appellee,

                                                     v.

                                            GOOGLE LLC, et al.,
                                           Defendants-Appellants.

                               On Appeal from the United States District Court
                                   for the Northern District of California
                                Nos. 3:20-cv-05671-JD, 3:21-md-02981-JD
                                            Hon. James Donato


                         BRIEF OF MICROSOFT CORP. AS AMICUS CURIAE
                     IN SUPPORT OF PLAINTIFF-APPELLEE EPIC GAMES, INC.


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             January 7, 2025
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                              CORPORATE DISCLOSURE STATEMENT

                    Pursuant to Federal Rule of Appellate Procedure 26.1, Microsoft

             Corporation states that it does not have a parent corporation and that no publicly

             held corporation holds 10 percent or more of its stock.




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                                    INTEREST OF AMICUS CURIAE 1

                    Microsoft Corporation (“Microsoft”) is a leading innovator in computer

             hardware, software, and security features; it has been creating software platforms

             and application programming interfaces for application developers for more than

             40 years. Microsoft’s mission is to enable individuals and businesses throughout

             the world to realize their full potential by creating technology that transforms the

             ways people work, play, and communicate. Microsoft develops, manufactures,

             licenses, sells, and supports a wide range of programs, devices, and services,

             including Windows, Microsoft Azure, Microsoft 365, Surface, Xbox and Xbox

             Game Pass, and Bing, in addition to a variety of commercial and enterprise

             technologies powered by artificial intelligence. Microsoft invests billions of

             dollars in the research and development of new technologies, products, and

             services to compete in dynamic technology markets.

                    Microsoft brings a unique and balanced perspective to the legal, economic,

             and technological issues in this case. As part of its business, Microsoft sells

             hardware devices and one of the leading operating systems for personal computers.

             Microsoft also provides online stores for applications that run on its consumer


                    1
                     Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), no counsel
             for any party to this appeal has authored this amicus brief, in whole or in part,
             nor has any party to this appeal or their respective counsel contributed money to
             fund the preparation or submission of this brief. All parties consented to its filing.
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             operating systems. In other parts of its business, Microsoft sells applications,

             software, and services that run on mobile operating systems produced by Google

             LLC (“Google”) and Apple Inc. (“Apple”). Microsoft offers products that compete

             with Google, including – like Epic Games, Inc. (“Epic”) – games for distribution

             on Android devices. Microsoft also is a global leader in digital, online, and

             computer security, protecting a significant amount of critical internet and

             computing infrastructure throughout the United States and the world.

                    Among its other provisions, the injunction challenged in this appeal would

             prevent Google from requiring consumers and app developers (like Microsoft) to

             use Google’s in-app payment processing system (Google Play Billing) for the

             purchase of digital goods or services within Android apps that are available for

             download on the Google Play Store. In response to the district court’s injunction,

             Microsoft has undertaken significant work to prepare new consumer offerings, as

             described in its earlier submission urging this Court to deny Google’s request for

             a stay of the injunction. See generally Br. of Microsoft Corp. as Amicus Curiae

             in Support of Plaintiff-Appellee Epic Games, Inc.’s Opp. to Emergency Mot. for

             Partial Stay, ECF No. 32.2 (“Microsoft Stay Amicus Br.”). Microsoft has a keen

             interest in the implementation of that and other provisions of the injunction, which

             will enable innovation, spur technological development, and promote competition,

             thereby benefitting consumers.



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                          INTRODUCTION AND SUMMARY OF ARGUMENT

                    This brief explains why the provision of the district court’s injunction

             requiring Google to permit developers to use in-app payment systems of their

             choosing for the sale of digital goods or services consumed within an Android app

             downloaded from the Google Play Store appropriately remedies Google’s unlawful

             conduct and poses no unique security risk. The brief further explains why that

             provision grants necessary relief beyond that to which Google agreed in its

             settlement with the States.

                    The provisions of the injunction that remedy the harmful effects of Google’s

             policies requiring app developers and consumers to use Google Play Billing for

             in-app purchases of digital goods or services on apps available through the Google

             Play Store are lawful and should be allowed to take effect. Google makes no

             argument that enjoining certain Google Play Billing policies presents any security

             or privacy concerns for consumers, nor could it credibly do so, given that

             alternative in-app payment solutions are widely used without problems.

                    Google instead posits (at 79-80) that a separate, pending settlement it

             reached with the States provides an effective remedy for Google’s restrictions on

             in-app purchases. This suggestion overlooks Google’s ongoing ability – even after

             tentatively resolving its litigation with the States – to exploit the terms of that

             proposed settlement to continue to obstruct competition. The injunction is thus


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             necessary to prevent Google from impeding the development of new, innovative,

             and consumer-benefitting apps and services.

                                              BACKGROUND

                    1.    Effects of Google’s Status Quo Restrictions: Google’s restraints on

             the Android mobile operating system – including billing requirements, in particular

             – limit the products and services that app developers can offer consumers. For

             example, Microsoft currently can offer consumers only two ways to play Xbox

             games on an Android device: first, a consumer can use the native Android Xbox

             app to remote stream gameplay from the consumer’s Xbox console to a mobile

             device to play games the consumer purchased using a valid Microsoft or Xbox

             account outside of the Android Xbox app; second, a consumer can use the native

             Android Game Pass app to stream a library of games over the cloud supported by

             Microsoft’s data and cloud-storage centers.

                    Google’s current restrictive Play Store policies degrade even these

             experiences. It requires the use of Google Play Billing in apps distributed on the

             Play Store for the purchase of digital goods or services and prohibits links from

             those apps to non-Google alternatives for in-app purchases.2 And it bars app


                    2
                      See Google, Understanding Google Play’s payments policy (explaining that
             “purchases that require use of Google Play’s billing system include . . . [d]igital
             items . . . [and] [c]loud software and services”), https://support.google.com/


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             developers from including in their apps links that would allow users to access

             websites where alternative purchase options would be available.3 As a result

             of these restrictions:

                  Consumers cannot use a Microsoft sign-in account or Xbox account to

                    purchase and play games within these Android apps.

                  Microsoft must disable in-game purchases for both remote and cloud-

                    streaming gameplay – on the Android Xbox app and the Android Game Pass

                    app, respectively – preventing consumers from paying to unlock new levels,

                    avatar outfits, upgraded features, and more.

                  Microsoft cannot include in its Android apps links that direct consumers to

                    Microsoft’s websites where they can play games (via streaming) and make

                    game-based purchases using their secure Microsoft account.

                    2.    The Injunction Unlocks Innovation: The district court’s injunction –

             imposed following a jury verdict finding Google liable for violating federal and

             state antitrust law – prohibits Google from forcing app developers and consumers

             to use its costly and restrictive mobile in-app payment processing system (Google


             googleplay/android-developer/answer/10281818 (last visited Jan. 6, 2025);
             Google, Payments (prohibiting developers from “leading users to other payment
             methods via . . . links . . . [and other] user interface flows”), https://support.google.
             com/googleplay/android-developer/answer/9858738 (last visited Jan. 6, 2025).
                    3
                    See Google, Payments, https://support.google.com/googleplay/android-
             developer/answer/9858738 (last visited Jan. 6, 2025).

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             Play Billing) for digital transactions. See 1-ER-4 (Permanent Injunction ¶ 9). In

             response, Microsoft updated the Xbox app for Android – ready to launch, now – to

             enable cross-device gaming and in-game purchases, significantly improving the

             mobile gaming experience:4

                 Customers will be able to buy Xbox games in the app and then click a link

                    from that Android native app to a website (Xbox.com/Play) to stream the

                    gameplay (both from Microsoft’s data and cloud-storage centers and via

                    remote access to the user’s console) – just as if they had purchased the game

                    on an Xbox console.

                 That linked website will allow customers to make additional purchases,

                    including in-game purchases – new levels, tools, upgrades, and more – for

                    immediate use without disrupting game flow, just as in-game purchases

                    work on an Xbox console or PC.

             All of these transactions will take place using Microsoft’s trusted and secure

             commerce system, which Microsoft customers use today when making purchases

             on an Xbox console, on a PC, on the web, and even, in some circumstances, on an



                    4
                     See Sarah Bond (@BondSarah_Bond), X (Oct. 10, 2024, 6:31 PM) (Xbox
             president explaining that, as a result of the district court’s injunction, Microsoft will
             unveil new features where “players will be able to play and purchase Xbox games
             directly from the Xbox App on Android”), https://x.com/BondSarah_Bond/status/
             1844506029599707255.

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             Android device (albeit only on the Samsung Galaxy Store but not through the Play

             Store). Microsoft’s innovative updates will enable cross-play; gaming on Android

             mobile will provide the same experiences as gaming on an Xbox console, enabling

             customers to start a game on an Xbox console or PC and then continue the same

             gaming experience on the go with the updated Android Xbox app or vice versa.

                                                ARGUMENT

                    Google raises a variety of challenges to the injunction, which Epic fully

             addresses in its merits brief. Google hardly challenges, however, the provision

             of the injunction that requires Google to allow app developers to implement

             alternatives to Google Play Billing. Likewise, none of the four separate security

             amici supporting Google contends that allowing alternative in-app payment

             methods poses a security risk to consumers.5 That provision of the injunction is

             warranted; indeed, it is critical to remedying conduct that the jury specifically

             found to be unlawful – and it will unleash innovation, including from Microsoft.

             Further, that critical provision raises no security concerns; on the contrary, untold

             numbers of apps have already implemented alternative billing arrangements for



                    5
                     See generally Br. of Amicus Curiae Former Nat’l Sec. Offs. & Scholars
             in Support of Defendants-Appellants, ECF No. 48.2; Br. of Comput. Sec. Experts
             John Mitchell et al. as Amici Curiae in Support of Defendants-Appellants and
             Reversal, ECF No. 49.3; Br. of Amicus Curiae the Ctr. for Cybersecurity Pol’y
             & L. in Support of Defendants-Appellants, ECF No. 55.1; Br. of Roblox Corp.
             as Amicus Curiae in Support of Defendants/Appellants, ECF No. 56.1.

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             in-app purchases.6 And Google’s suggestion that an existing (pending) settlement

             will address this issue adequately – even if the argument were relevant – is

             incorrect.

                    First, the relevant provision of the injunction is necessary to remedy conduct

             that the jury specifically found to be unlawful. In particular, the jury found that

             Google engaged in illegal tying in violation of Section 1 of the Sherman Act by

             requiring app developers to use Google Play Billing for in-app purchases of digital

             goods or services on apps downloaded through the Play Store. See 1-ER-57. To

             remedy that conduct, the district court entered a permanent injunction providing:

                    Google may not require the use of Google Play Billing in apps
                    distributed on the Google Play Store, or prohibit the use of in-app
                    payment methods other than Google Play Billing. Google may not
                    prohibit a developer from communicating with users about the
                    availability of a payment method other than Google Play Billing.
                    Google may not require a developer to set a price based on whether
                    Google Play Billing is used.

             1-ER-4 (Permanent Injunction ¶ 9). This provision directly addresses – and

             prohibits – Google’s unlawful tying conduct with respect to its Google Play Billing

             policies.7


                    6
                    For example, consumers can buy books on Amazon’s app or reserve rides
             on Uber’s app, all without having to use Google Play Billing, even when the users
             download the Amazon or Uber app from the Google Play Store.
                    7
                     Google accuses Microsoft of “free-rid[ing]” on the success of the Play
             Store, Reply in Support of Emergency Mot. for Partial Stay of Permanent


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                    Second, as Microsoft explained in its amicus brief opposing Google’s

             request for a stay of the injunction, this provision of the injunction creates no

             unique security or privacy issues, and Google has forfeited any contrary claim by

             failing to raise it in its opening brief. In fact, Google already allows for alternative

             payment methods for non-digital goods or services, and even digital content so long

             as developers do not allow consumers to use the content in an app downloaded

             from the Google Play Store. Thousands of app developers – but not those offering

             digital goods or services – already use these alternative billing methods today.

                    Google does not suggest that its existing billing policy is necessary for user

             or device security; its sole purpose is to prevent developers from offering lower-

             cost alternatives to the 30-percent commissions charged by Google Play Billing.8

             Microsoft typically already has a billing relationship with its Xbox users; it is

             security-enhancing for users to be able to continue to rely on that relationship.

             Indeed, the innovation and competition that the injunction enables could improve




             Injunction Pending Appeal Under Cir. R. 27-3 at 12 n.3, ECF No. 34.1, but the
             opposite is the case: Microsoft seeks to use its own billing mechanism, rather than
             being forced to use Google’s; and the Play Store benefits from the presence of
             developers like Microsoft, which attracts users to it.
                    8
                     Moreover, as detailed below, by agreeing in its tentative settlement with
             States to permit additional in-app payment methods – albeit alongside Google Play
             Billing – Google belied any notion that offering alternative in-app payment
             methods (like the one Microsoft developed) presents a unique or heightened
             security risk.

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             user security and privacy vis-à-vis billing technology, as alternatives vie for

             developer and consumer adoption. See National Soc’y of Pro. Eng’rs v. United

             States, 435 U.S. 679, 695 (1978) (explaining that the Sherman Act reflects a

             considered “legislative judgment that ultimately competition will produce not only

             lower prices, but also better goods and services”).9

                    Third, Google argues (at 79-80) that it has already reached a settlement with

             the States that remedies its anticompetitive conduct. But the settlement with the

             States has not been approved; and, even if it is, it does not address the harm that

             Google’s conduct creates because it allows Google to require app developers to

             offer Google Play Billing alongside alternative payment mechanisms. See

             Settlement Agreement and Release § 6.3.1, Utah v. Google LLC, No. 3:21-cv-

             5227-JD, ECF No. 522-2 (N.D. Cal. Dec. 18, 2023) (requiring Google to give

             developers “the option to add an alternative in-app billing system alongside

             Google Play’s billing system”) (emphasis added).

                    Such a provision does little or nothing to help developers, like Microsoft,

             that do not want to (and, in many cases, as a practical matter cannot) implement

             Google Play Billing at all. See Microsoft Stay Amicus Br. 7-8. As a result of


                    9
                    See also Br. of Amicus Curiae the Ctr. for Cybersecurity Pol’y & L. in
             Support of Defendants-Appellants at 15, ECF No. 55.1 (amicus in support of
             Google, acknowledging that “[c]reating more secure and trusted ecosystems is
             a way for app stores to differentiate themselves and compete”).

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             Google’s billing policies, developers are prevented from bringing their full suite

             of products to market, thereby reducing competition and harming consumers.

             For example, as Microsoft explained in its previous submission, its Xbox mobile

             offerings are not engineered at the code level to use Google Play Billing, and

             rewriting existing code to add an option for Google Play Billing – alongside

             the payment systems for which those games are already coded – would be

             prohibitively expensive and pose substantial compatibility, performance, and

             integration challenges. Additionally, many popular Xbox games are third-party

             titles, and Microsoft cannot rewrite their source code to integrate Google Play

             Billing for in-game purchases on Android.

                    For all these reasons, the district court did not abuse its discretion in

             imposing an injunction that remedies Google’s unlawful billing policies.

                                                CONCLUSION

                    The judgment of the district court should be affirmed.




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                                                            Respectfully submitted,

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                                     CERTIFICATE OF COMPLIANCE

                                 UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT

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             Signature s/ Aaron M. Panner                            Date January 7, 2025
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                                        CERTIFICATE OF SERVICE

                    I hereby certify that, on January 7, 2025, I caused to be filed electronically the

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             who are registered ACMS users will be served by the appellate ACMS system.



                                                               /s/ Aaron M. Panner
                                                              Aaron M. Panner
